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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:06-cr-00035-MP-AK

BRUCE DAVID ADAMS,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 279, Notice of Inquiry, filed by Defendant Bruce

Adams. In the letter, Defendant Adams states that the Court has not ruled on his Motion to

Remove Counsel, Doc. 261, and that because of this the Eleventh Circuit Court of Appeals

erroneously exercised jurisdiction over his motion. Defendant requests that the Court inform the

Eleventh Circuit of this alleged error, and then rule on the motion. Because Defendant’s appeal

was docketed before he filed his motion to remove counsel, jurisdiction was no longer proper at

the district court level, and therefore the Court forwarded the motion to the Eleventh Circuit.

The Eleventh Circuit has already ruled on Defendant’s motion, and a district court has no power

to overrule a decision rendered by an appellate court. Accordingly, Defendant should address

his concerns with the Eleventh Circuit.


       DONE AND ORDERED this              28th day of January, 2008


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
